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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                      Plaintiff,

        v.                                          Case No. 19-cv-2184 (TJK)

FACEBOOK, INC.,

                      Defendant.



                        MOTION FOR ADMISSION PRO HAC VICE

        Joshua S. Lipshutz of Gibson, Dunn & Crutcher LLP (the “Movant”) hereby moves this

Court, pursuant to Local Rule 83.2(d), for entry of an order permitting Orin Snyder to appear pro

hac vice before this Court in the above-captioned matter as an additional counsel of record for

Facebook, Inc. In support of this motion, the Movant attaches the Declaration of Orin Snyder as

Exhibit A.

        Undersigned counsel respectfully requests that the Court grant this motion and enter an

Order for admission of Orin Snyder pro hac vice in the above-captioned case. A proposed order

is attached.

Dated: August 2, 2019
                                             Respectfully submitted,


                                               /s/ Joshua S. Lipshutz
                                             Joshua S. Lipshutz (D.C. Bar No. 1033391)
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